
701 S.E.2d 238 (2010)
STATE of North Carolina
v.
Andrew Ryan DEYTON.
No. 259P10.
Supreme Court of North Carolina.
August 26, 2010.
Hoang Lam, for Andrew Ryan Deyton.
Amy Kunstling Irene, Assistant Attorney General, for State of N.C.

ORDER
Upon consideration of the petition filed by Defendant on the 21st of June 2010 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 26th of August 2010."
